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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         JASPER DIVISION


MELISSA FENDLEY,                          )
                                          )
      Plaintiff,                          )
                                          )   Civil Action Number
vs.                                       )   5:20-cv-01527-AKK
                                          )
DOWNTOWN GRILL, LLC,                      )
      Defendant.                          )




                                        ORDER

      Consistent with Melissa Fendley’s notice of voluntary dismissal, doc. 16,

this action is DISMISSED WITHOUT PREJUDICE pursuant to Rule 41(a) of

the Federal Rules of Civil Procedure.

      DONE the 6th day of July, 2021.

                                        _________________________________
                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE
